        Case 1:17-cv-00614-LGS Document 336 Filed 06/28/22 Page 1 of 3




                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK



BRANDI PRICE AND CHRISTINE CHADWICK,              Civil Action No.:
on behalf of themselves and all other similarly
situated                                          1:17-cv-614 (LGS)

                           Plaintiffs,

      vs.                                         CONSENT JUDGMENT

L’ORÉAL USA, INC. AND MATRIX
ESSENTIALS LLC

                           Defendants.
        Case 1:17-cv-00614-LGS Document 336 Filed 06/28/22 Page 2 of 3




      Based upon the Stipulation between the parties, on the consent of Plaintiffs Brandi Price

and Christine Chadwick (“Plaintiffs”) and Defendants L’Oréal USA, Inc. and Matrix Essentials

LLC (“L’Oréal”), it is hereby ORDERED:

       1. This Consent Judgment is entered pursuant to Rule 58 of the Federal Rules of Civil

          Procedure.

       2. This Action shall be and is dismissed, with prejudice, in its entirety.

       3. Each party shall bear its own attorney’s fees, expenses, and costs.




APPROVED AND SO ORDERED:
       June 28, 2022
Dated: _____________

                                             _________________

                                             HON. LORNA G. SCHOFIELD
                                             UNITED STATES DISTRICT JUDGE




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     Case 1:17-cv-00614-LGS Document 336 Filed 06/28/22 Page 3 of 3




CONSENTED AND AGREED TO BY:

                          MILBERG COLEMAN PHILLIPS GROSSMAN, PLLC


                          By:    /sfiea-c-114-1
                          Rachel Soffin
                          800 S. Gay Street, Suite 1100
                          Knoxville, Tennessee 37929

                          Attorneys for Plaintiffs Brandi Price and Christine
                          Chadwick


                          PATTERSON BELKNAP WEBB & TYLER LLP


                          By:    /s/

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                          Attorneys for Defendants L'Oreal USA, Inc. and Matrix
                          Essentials LL('




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